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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 INVENTIA HEALTHCARE LIMITED,
                                 Plaintiff,

                     -against-                            22-cv-07254 (JLR)

 APNAR PHARMA LP,                                         ORDER OF DISMISSAL

                                 Defendant.


JENNIFER L. ROCHON, United States District Judge:
         The Court having been advised at ECF No. 14 that all claims asserted herein have been
settled in principle, it is ORDERED that the above-entitled action be and is hereby DISMISSED
and discontinued without costs, and without prejudice to the right to reopen the action within
thirty days of the date of this Order if the settlement is not consummated.

       To be clear, any application to reopen must be filed by the aforementioned deadline;
any application to reopen filed thereafter may be denied solely on that basis.

        If the parties wish for the Court to retain jurisdiction for the purposes of enforcing any
settlement agreement, they must submit the settlement agreement to the Court by the deadline to
reopen to be “so ordered” by the Court. Per Paragraph 4(C) of the Court’s Individual Rules and
Practices for Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction
to enforce a settlement agreement unless it is made part of the public record.

       Any pending motions are moot. All conferences, including the November 30, 2022
Conference, are cancelled. The Clerk of Court is directed to CLOSE the case.

Dated: November 21, 2022
       New York, New York

                                                           SO ORDERED.


                                                           JENNIFER L. ROCHON
                                                           United States District Judge
